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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


ALTHEA SHACKELFORD                                            §
                                                              §
        Plaintiff,                                            §
                                                              §
                                                              §
VS.                                                           §   CIVIL ACTION NO. 4:20-cv-03496
                                                              §
                                                              §
OCWEN LOAN SERVICING, LLC,                                    §
                                                              §
        Defendant                                             §


           PLAINTIFF’S RESPONSE TO DEFENDANT’S REPLY IN SUPPORT
                    OF MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE JUDGE OF THE DISTRICT COURT:

        COMES NOW, ALTHEA SHACKELFORD, Plaintiff in the above-styled and numbered

cause and files her Response to Defendant’s Reply in Support of Motion for Summary Judgment

on the Pleadings and in support thereof would show unto this Honorable Court as follows:

                                            BACKGROUND

        Since the execution of the Texas Home Equity Security Instrument on or about April 3,

2007, payments were made in a timely and consistent manner through December 2009. Due to the

change in the health and medical condition of Plaintiff, Lingie Shackelford and began to inquire

with the former mortgage servicer, Taylor Bean and Whitaker Mortgage Corp. regarding the

mortgage in either the form of a loan modification and/or short sale to process a reverse mortgage

on the above captioned property. For the next several years, the Plaintiff encountered the transfer

and assignment of her mortgage several times from Taylor Bean & Whitaker Mortgage Corp. to




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American Home Mortgage Servicing, Inc. (AHMSI) to Homeward Residential Inc. and finally to

Defendant Ocwen Loan Servicing, LLC.

        Throughout these transfers and assignments, Plaintiffs have encountered dilatory and

repetitive actions and requests by each of the aforementioned mortgage servicers including

litigation in an effort to complete her loan workout request. Plaintiff, at the request of Defendant,

forwarded the completed short sale package and documentation on or about March 15, 2015 and

to date after several inquires have not received any response. As a result, counsel for Plaintiff has

continued to make inquires with the Defendant’s short sale department to resolve this matter and

finalize the short sale request. Again, counsel for Plaintiff has submitted the required updated

information and has made several requests for a field inspection of the property to complete the

evaluation of the property in question for the short sale request and has previously supplied a copy

of the short sale application from September 2018.



                                       PLAINTIFF’S CLAIMS

        RESPA is a consumer protection statute designed to protect mortgagors from

"'unnecessarily high settlement charges caused by certain abusive practices' in the real estate

mortgage industry," and "to ensure 'that consumers . . . are provided with greater and more timely

information on the nature and costs of the settlement process.'" Nash v. PNC Bank, N.A. Jones v.

Wells Fargo Bank, Civil Action No. ELH-18-8, 15 (D. Md. Sep. 12, 2018)

        “Among other things, RESPA requires a mortgage servicer to respond to a borrower's

"qualified written request" ("QWR") seeking "information relating to the servicing of" a mortgage

loan.” Jones v. Wells Fargo Bank, Civil Action No. ELH-18-8, 16 (D. Md. Sep. 12, 2018)




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        “Plaintiff fails to address that violations under 12 C.F.R. §§1024.35 and 1024.39 are not

private causes of action.”

        A “notice of error” is described in 12 C.F.R. § 1024.35. It is “a form” of a QWR. Nash,

2014 WL 2895779, at *6. The section imposes a duty on a servicer to respond to a notice informing

the servicer of specified categories of "covered errors." 12 C.F.R. § 1024.35(b) (listing the

categories of "covered errors"). Upon receipt of a notice of a covered error, a servicer must

investigate the borrower's assertions and provide a response within the specified time, which varies

with the nature of the alleged error. See12 C.F.R. § 1024.35(e). Failure to comply with the

requirements of 12 C.F.R. § 1024.35 is enforceable by private action under 12 U.S.C.

2605. See Lage v. Ocwen Loan Servicing LLC, 839 F.3d 1003, 1007 (11th Cir. 2016) (stating that

there is a private right of action to enforce 12 C.F.R. § 1024.35 under 12 U.S.C. § 2605). Jones v.

Wells Fargo Bank, Civil Action No. ELH-18-8, 19 (D. Md. Sep. 12, 2018)

        In McCants et al v. Dovenmuehle Mortgage et al the Plaintiff centers on 12 C.F.R. §

1024.35 of Regulation X, which prohibits dual-tracking and governs error resolution procedures

and permits borrowers to submit written notices of serving errors to a servicer, and damages owed

pursuant to 12 U.S.C. § 2605. The Defendants move for summary judgment on the basis that here

is no private right of action under Section 1024.35 and Section 1024.36 of RESPA. … the Fifth

Circuit has held that “Section 1024.41 (g) prohibits dual tracking, and 1024.41(a) expressly

provides for a private right of action in the event the lender violates the provision.” Gresham v.

Wells Fargo Bank, N.A., 642 F. App'x 355, 359 (5th Cir. 2016). …Defendant’s Motion for

Summary Judgment as to Count III was DENIED. McCants et al v. Dovenmuehle Mortgage et al,

No. 6:2021cv00129 - Document 204 (W.D. Tex. 2023)




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Violation of 12 C.F.R. § 1024.35 Error resolution procedures.

        The Plaintiff has plead repeatedly the Defendant violated the following sections:

                (a)Notice of error. A servicer shall comply with the requirements of this section for
                any written notice from the borrower that asserts an error and that includes the name
                of the borrower, information that enables the servicer to identify the borrower’s
                mortgage loan account, and the error the borrower believes has occurred. A notice
                on a payment coupon or other payment form supplied by the servicer need not be
                treated by the servicer as a notice of error. A qualified written request that asserts
                an error relating to the servicing of a mortgage loan is a notice of error for purposes
                of this section, and a servicer must comply with all requirements applicable to a
                notice of error with respect to such qualified written request.

        The Defendant asserts “Plaintiff has offered no evidence from which the Court could infer

the existence of a special relationship that would trigger a duty of good faith and fair dealing on

the part of Defendants. … Plaintiff has thus failed to raise a question of fact about the existence of

a duty of good faith and fair dealing on the part of Defendants.”

        Based on the loan agreement, Defendant owed a duty to Plaintiff under the Department of

Housing and Urban Development regulations. Defendant had a duty to mortgagors and mortgage

servicers such as themselves, to provide notice of any transfers, assignment or sale of the note, to

properly manage the loan and escrow account, to comply with the notice provisions contained in

the deed of trust before accelerating the note and foreclosing on the property, and when applying

for a mortgage modification to protect her rights and not mislead her. As shown above, Defendant

breached the duties it owned to Plaintiff and as a result of this breach she was damaged.


Violation of 12 C.F.R. § 1024.39 Early intervention requirements for certain borrowers.

        The Plaintiff has also plead repeatedly the Defendant violated the following sections:

                (b) Written notice.
                     (1) Notice required. Except as otherwise provided in this section, a servicer
                     shall provide to a delinquent borrower a written notice with the information
                     set forth in paragraph (b)(2) of this section no later than the 45th day of the
                     borrower’s delinquency and again no later than 45 days after each payment


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                       due date so long as the borrower remains delinquent. A servicer is not required
                       to provide the written notice, however, more than once during any 180-day
                       period. If a borrower is 45 days or more delinquent at the end of any 180-day
                       period after the servicer has provided the written notice, a servicer must
                       provide the written notice again no later than 180 days after the provision of
                       the prior written notice. If a borrower is less than 45 days delinquent at the
                       end of any 180-day period after the servicer has provided the written notice,
                       a servicer must provide the written notice again no later than 45 days after the
                       payment due date for which the borrower remains delinquent.


        They also failed to inform Plaintiff of any assistance option and conduct a loss mitigation

evaluation before accelerating the loan and proceeding with foreclosure.                  U.S. Bank

violated section 1024.39 by "failing to provide accurate information to [them] for loss mitigation

options and foreclosure." HN5 Under certain circumstances, this Section requires the servicer

of the loan to "make good faith efforts to establish live contact with a [*223] delinquent

borrower . . . [and] inform the borrower about the availability of loss mitigation

options." Id. § 1024.39. As pointed out by the district court, Appellants allege only that U.S. Bank

did not provide accurate information, not that U.S. Bank failed to make a good faith effort to

inform them of their loss mitigation options. Solis v. U.S. Bank, N.A., 726 Fed. Appx. 221. In the

case at bar however, Plaintiff is asserting specifically that the Defendant failed to make a “good

faith effort” to supply her with loss mitigation options.

        Defendant committed violations under RESPA by failing to do the following:

                a. Failing to provide Plaintiff with a specific reason or reasons for Chase’s
                   determinations for each such trial or permanent loan modification option;
                b. Failing to provide accurate information to Plaintiff for loss mitigation options
                   and foreclosure as required by 12 C.F.R. § 1024.39;
                c. Failing to provide a specific reason or reasons for denial of all loan workout
                   alternatives prior to posting the home for foreclosure;
                d. Moving for foreclosure judgment or order of sale or conduct a foreclosure sale
                   prior to providing a specific reason or reasons for denial of all loan workout
                   alternatives.




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        Plaintiff asserts that the Defendant as a mortgage servicer violated the Texas Debt

Collection Act by failing to respond timely to Plaintiff’s attempts to cure, to obtain a loan

modification and all other issues asserted above. Plaintiff has plead sufficient and specific facts

and allegations that give the Defendant notice of the claims made against it, which is all Plaintiff

is required to do.



                                             CONCLUSION

        Plaintiff has addressed her claims when it comes to the violations committed by the

Defendant and has provided sufficient evidence of the same. Defendant’s Motion for Summary

Judgment should be denied, and Plaintiff should be entitled to any and all further relief either in

law or in equity.

        WHEREFORE, ALTHEA SHACKELFORD, Plaintiff prays that this Court deny

Defendant’s Motion for Summary Judgment and that Plaintiff have such other and further relief to

which she may be justly entitled.



                                                              Respectfully submitted,

                                                              /s/ Ray L. Shackelford____
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                                    CERTIFICATE OF SERVICE


        I, Ray Shackelford, do hereby certify that a true and correct copy of the foregoing

instrument has been served to all parties shown below on this 1st day of December, 2023.

                                                              /s/ Ray Shackelford

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